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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    MICRON TECHNOLOGY, INC.,                            Case No. 17-cv-06932-JSW

                                   8                   Plaintiff,
                                                                                            ORDER GRANTING, IN PART, AND
                                   9            v.                                          DENYING, IN PART, MOTION FOR
                                                                                            RELIEF FROM CASE MANAGEMENT
                                  10    UNITED MICROELECTRONICS                             ORDER
                                        CORPORATION, et al.,
                                  11                                                        Re: Dkt. No. 36
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Now before the Court for consideration is the motion for relief from case management

                                  14   order, filed by Defendant United Microelectronics Corporation (“UMC”). The Court has

                                  15   considered UMC’s motion and Plaintiff’s opposition thereto. The other defendant in this matter,

                                  16   Fujian Jinhua Integrated Circuit Co., Ltd. (“Fujian”) has not yet been served and has not appeared.

                                  17          UMC has filed a motion to dismiss and a motion to stay discovery, both of which are set

                                  18   for hearing on March 23, 2018. The case management conference is scheduled for March 9, 2018.

                                  19   UMC asks the Court to vacate the case management conference and stay all deadlines related to

                                  20   that conference until after it resolves UMC’s motions and until after Fujian has been served an

                                  21   appears. Plaintiff argues that UMC’s motion is improper, because it effectively seeks the

                                  22   substantive relief of a stay of this action and that the motions to dismiss and to stay will be

                                  23   resolved by March 23, 2018. As to the latter argument, the Court reminds counsel that this is not

                                  24   the only case on its docket.

                                  25          The Court finds good cause to grant UMC’s request, part. The Court is not inclined to stay

                                  26   a case management conference until Fujian is served, and it will address the need to adjust any

                                  27   deadlines once Fujian has appeared. However, the Court will continue the case management

                                  28   conference in order to give it time to resolve the pending motion to dismiss, which may narrow the
                                          Case 3:17-cv-06932-MMC Document 39 Filed 02/28/18 Page 2 of 2




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                                         ope of this caase.

                                   2           Accord
                                                    dingly, the Court CONTIINUES the ccase manageement conferrence from M
                                                                                                                        March 9,

                                   3   201
                                         18 to April 27,
                                                     2 2018. UM
                                                              MC and Plaiintiff shall fi
                                                                                      file a case maanagement sstatement byy April 20,

                                   4   201
                                         18.

                                   5           IT IS SO
                                                     S ORDER
                                                           RED.

                                   6   Daated: Februarry 28, 2018

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                                                                                      JEFFFREY S. W WHITE
                                   8                                                  Unnited States D
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Northern District of California
 United States District Court




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